      Case 1:15-cr-10052-RGS Document 27 Filed 11/04/15 Page 1 of 4



                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA         )
                                 )
     v.                          )     Criminal No. 15-10052-RGS
                                 )
LUIS LOPEZ,                      )
           Defendant.            )
                                 )

              JOINT INTERIM STATUS REPORT OF THE PARTIES

The parties state as follows:

     (1)     Timing Requirements Under L.R. 116.3

     The parties do not request relief from the otherwise applicable

timing requirements imposed by L.R. 116.3.

     (2)     Expert Discovery under Fed.R.Crim.P. 16(a)(1)(E)

     The parties have requested discovery of each other concerning

expert witnesses.    The government will provide such discovery thirty

days prior to trial.    Defendant will provide reciprocal discovery

fifteen days prior to trial.

     (3)     Additional Discovery

     The government provided automatic discovery, and supplemental

discovery.    The government anticipates some additional discovery,

as follows.    Recorded jail calls of the defendant have just been

provided in discovery.    However, the communications are primarily

in Spanish.    As such, the government is attempting to get a Spanish

interpreter to review the recordings and translate them into English.

     The defendant also requests an additional 30 days to review the
      Case 1:15-cr-10052-RGS Document 27 Filed 11/04/15 Page 2 of 4



Supreme Court decision and its impact upon the defendant’s case in

Johnson v. United States, No. 13 7120 (June 26, 2015).

     (4)   Motion Date

     The parties request that the date for the defendant to file

pretrial motions be set at the Final Status Conference that is

requested below.

     (5)   Periods of Excludable Delay

     A period of twenty-eight days should be excluded from the date

the defendant was arraigned, pursuant to L.R. 112.2.       The period of

time from May 5, 2015, through and including the date of the Status

Conference before the Court on November 4, 2015, was previously

excluded by the Court, docket entry #s 11, 12, 17, 21 and 26.

Additionally, the parties request that the period from the Status

Conference until the Final Status Conference should be excluded under

the Speedy Trial Act to allow the parties sufficient time to review

the discovery and to explore disposition of this case short of trial

and to complete discovery.     Exclusion of such time is in the

interests of justice.

     (6)   Whether Trial is Anticipated; Length of Trial

     It is too early to tell if there will be a trial in this matter.

However, a trial should last approximately 4-5 days.

     (7)   Date for Future Status Conferences

     The parties request that the court set the Final Status
      Case 1:15-cr-10052-RGS Document 27 Filed 11/04/15 Page 3 of 4



Conference in December, 2015.



                                        Respectfully submitted,

                                        CARMEN M. ORTIZ
                                        United States Attorney


                                 By:    s/ Glenn A. MacKinlay
                                        GLENN A. MACKINLAY
                                        Assistant U.S. Attorney




                                  -3-
         Case 1:15-cr-10052-RGS Document 27 Filed 11/04/15 Page 4 of 4




                        CERTIFICATE OF SERVICE


     This is to certify that I have this day served a copy of the

foregoing on defense counsel by efiling.




                                           s/ Glenn A. MacKinlay
                                           GLENN A. MACKINLAY


Dated:       November 4, 2015




                                     -4-
